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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                                No. 21-cv-161 (WMW/KMM)

 Gregory J. Miller, Trustee for the
 Heirs and Next-of-Kin of
 Justin J. Miller, decedent,                                DEFENDANT’S ANSWER

                Plaintiff,

       v.

 United States of America,

                Defendant.


       For its Answer to Plaintiff’s Complaint Defendant United States of America states

all allegations in the Complaint, including relief sought, are denied except when

specifically admitted. As to the numbered paragraphs of the Complaint, Defendant states:

       1.     Defendant denies the allegations in Paragraph 1, except the allegation this is

a suit by Plaintiff against Defendant under the Federal Tort Claims Act, which is admitted.

       2.     Defendant denies the allegations in Paragraph 2, except the allegation this is

a suit by Plaintiff against Defendant under the Federal Tort Claims Act, which is admitted.

       3.     Defendant admits the allegations in Paragraph 3.

       4.     Defendant admits the allegations in Paragraph 4.

       5.     Defendant denies the allegations in Paragraph 5, except the allegation this

Court has jurisdiction over the case pursuant to 28 U.S.C. § 1346(b)(1), which is admitted.

       6.     Defendant admits the allegations in Paragraph 6.
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       7.     Defendant lacks knowledge or information sufficient to form a belief about

the truth of the allegations in the first sentence of Paragraph 7. Defendant admits the

allegations in the second sentence of Paragraph 7.

       8.     Defendant lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 8.

       9.     Defendant admits the allegations in Paragraph 9.

       10.    Defendant admits the allegations in Paragraph 10.

       11.    Defendant admits the allegations in Paragraph 11.

       12.    Defendant lacks knowledge or information sufficient to form a belief about

the truth of the allegations in the first sentence of Paragraph 12. As to the second sentence

of Paragraph 12, Defendant admits the waiver of sovereign immunity contained in the

Federal Tort Claims Act extends to acts within the scope of office or employment by

“employees of the government” as defined in the Act, “but does not include any contractor

with the United States.” 28 U.S.C. § 2671; see also id. § 2674. The allegations in the

second sentence of Paragraph 12 are otherwise denied.

       13.    Defendant admits the allegations in Paragraph 13.

       14.    Defendant lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 14, except the allegations Justin Miller called the

VA National Suicide Prevention Hotline on February 20, 2018 at approximately 12:17 p.m.

because he was having suicidal thoughts; he admitted to having immediate access to guns;

he indicated he could arrange for someone to keep the guns in the future but was unable to

do that immediately; his risk of suicide was assessed as moderate to high; and he agreed to


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drive himself to the Minneapolis VA emergency department for evaluation and admission

to the hospital; which are admitted.

       15.    Defendant admits the allegations in Paragraph 15, except the allegation

Miller presented to the Minneapolis VA on February 20, 2018 at 1:48 p.m., which is

denied.       Defendant    admits      Miller       presented   to   the   Minneapolis   VA

Emergency Department on February 20, 2018 at 1:42 p.m.

       16.    Defendant admits the allegations in Paragraph 16.

       17.    Defendant admits the allegations in Paragraph 17.

       18.    Defendant admits the allegations in Paragraph 18.

       19.    Defendant admits the allegations in Paragraph 19.

       20.    Defendant admits the allegations in Paragraph 20.

       21.    Defendant admits the allegations in Paragraph 21.

       22.    Defendant admits the allegations in Paragraph 22.

       23.    Defendant admits the allegations in Paragraph 23.

       24.    As to the allegations in the first two sentences of Paragraph 24, Defendant

admits at 10:27 a.m. on February 24, 2018 a VA Police Officer on routine patrol of the

parking lots of the Minneapolis VA Medical Center observed a black Nissan Frontier

parked in Parking Lot 6C with unplowed snow still around the vehicle and the vehicle

running. The allegations in the first two sentences of Paragraph 24 are otherwise denied.

The allegations in the third sentence of Paragraph 24 are admitted.




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       25.    Defendant admits the allegations in the first two sentences of Paragraph 25.

Defendant lacks knowledge or information sufficient to form a belief about the allegations

in the third sentence of Paragraph 25.

       26.    Defendant admits the allegations in Paragraph 26.

       27.    In response to Paragraph 27 Defendant re-alleges its answers to

Paragraphs 1-26.

       28.    As to the allegations in Paragraph 28, Defendant admits the doctors, nurses,

social workers, and other staff who provided care and treatment to Miller at the

Minneapolis VA in February 2018 were employees of Defendant and were acting within

the course and scope of their employment at all times they provided such care and

treatment. The allegations in Paragraph 28 are otherwise denied.

       29.    Defendant admits the allegations in Paragraph 29.

       30.    Defendant denies the allegations in Paragraph 30, including the allegations

in Sub-paragraphs (a) through (d).

       31.    Defendant denies the allegations in Paragraph 31.

       32.    Defendant denies the allegations in Paragraph 32.

       33.    Defendant denies the allegations in Paragraph 33.

       34.    As to the allegations in the Complaint after the word “WHEREFORE” on

Page 8, Defendant denies Plaintiff is entitled to any of the relief Plaintiff seeks.

                   ADDITIONAL AND AFFIRMATIVE DEFENSES

       1.     The Court lacks subject matter jurisdiction or the United States cannot be

liable because the claim involves circumstances where the United States, were it a private


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person, would not be liable to the Plaintiff in accordance with the law of the state of

Minnesota. See 28 U.S.C. § 1346(b).

       2.     The employees of the United States identified in the Complaint possessed

and exercised the degree of skill and learning customarily possessed and exercised by

similarly situated professionals under similarly situated circumstances.

       3.     The injuries and damages alleged by the Plaintiff in the Complaint, if any,

are the result of intervening and superseding events or acts or omissions of persons other

than an employee or agent of the United States, or another intervening and superseding

event, and are not proximately caused by any act or omission of any employee of the

United States then acting within the scope of their employment with the United States.

       4.     The injuries and damages alleged by the Plaintiff in the Complaint, if any,

are the result of pre-existing medical conditions for which the Defendant is not responsible.

       5.     The injuries and damages alleged by the Plaintiff in the Complaint, if any,

are the result of the fault or conduct of third parties, over whom Defendant had no control

or right to control, and for whose conduct Defendant is not liable.

       6.     Plaintiff’s claims are subject to Minnesota’s expert review statute,

Minn. Stat. § 145.682 and strict compliance is required.

       7.     In the event the Court finds the United States negligent, which negligence

the United States denies, then the negligence of the decedent exceeded that of the

United States and the Plaintiff=s claim is therefore barred. In the alternative, decedent’s

own negligence contributed to his death and Plaintiff=s recovery must be reduced in

proportion to the decedent’s comparative fault.


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      8.     In the event the Court finds the United States negligent, which negligence

the United States denies, then any recovery by the Plaintiff from the United States must be

reduced by the comparative fault of the decedent, the comparative fault of any independent

contractor, and the comparative fault of any other person or entity over whom the

United States had no control.

      9.     Plaintiff=s recovery, if any, is limited to the amount stated in his

administrative claim. 28 U.S.C. § 2675(b).

       10.    Any claim for prejudgment interest is prohibited under 28 U.S.C. § 2674.

       11.    Any claim for punitive damages is prohibited under 28 U.S.C. § 2674.

       12.    Plaintiff=s claim for attorney’s fees is limited under 28 U.S.C. § 2678.

       13.    Plaintiff’s claim for costs and disbursements is limited to any taxable costs

that may be awarded to a prevailing party under 28 U.S.C. § 1920.

       14.    Plaintiff=s recovery, if any, is limited by the common and statutory law of the

State of Minnesota including but not limited to the aforementioned defenses, the

“Captain of the Ship” doctrine, the “Borrowed Servant” doctrine, and the doctrine of

informed consent.

       15.    Pursuant to 38 U.S.C. § 1151, the United States is entitled to a set off against

any recovery of all payments made by the Government under 38 U.S.C. § 1151 and further,

after any judgment is entered in this action or any settlement of this action occurs, the

government shall stop making any such payments under 38 U.S.C. § 1151 beginning after

the date such judgment, settlement, or compromise on account of such disability or death




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becomes final until the aggregate amount of benefits which would be paid but for this

subsection equals the total amount included in such judgment, settlement, or compromise.

       16.    There is no jury trial against the United States. See 28 U.S.C. § 2402.

       17.    The Court lacks subject matter jurisdiction for other reasons.

       18.    The Complaint fails to state a claim upon which relief can be granted against

the United States for other reasons.



       Having answered, Defendant requests:

       1.     Plaintiff’s Complaint be dismissed with prejudice and judgment be entered

for Defendant;

       2.     Plaintiff takes nothing by way of the Complaint and is granted no relief; and

       3.     such other and further relief as the Court may deem fit and proper.



Dated: March 29, 2021
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                                          Acting United States Attorney

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